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                                                                      FILEDby                                     D.C



                                                                                                Sep 6, 2019
                             UNITED STATES DISTRICT COURT                                        ANGELAE. NOBLE
                                                                                                CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FL ORIDA                                      S.D. OF FLA - MIAMI

                             CASE NO. 19-20566-CR-MARTINEZ/OTAZO-REYES
                                      18 U.S.C. § 554(a)
                                      22 U.S.C. §§ 2778(b)(2) and (c)
                                      18 U.S.C. § 98l(a)(l )(C)
                                      22 u.s.c. § 401

 UNITED STATES OF AMERICA

 vs.

 CHRISTOPHER DANIEL STINES,


 _______________
   Defendant.
                /

                                           INDICTMENT

        The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

        At all times material to this Indictment:

         1.     The export of arms, ammunition, implements of war and defense articles and

 services from the United States was governed by the Arms Export Control Act ("AECA"), Title

 22, United States Code, Section 2778, and the International Traffic in Arms Regulations ("IT AR"),

 Title 22, Code of Federal Regulations, Sections 120-130.

        2.      The AECA authorized the President, among other things, to control the export of

 "defense articles" deemed critical to the national security and foreign policy interests of the United

 States. The AECA also authorized the President to designate items as "defense articles," require

 licenses for the export of such articles, and promulgate regulations for the export of such articles.

 By executive order, the President delegated this authority to the United States Department of State,

 Directorate of Defense Trade Controls ("DDTC").             Accord ingly, the DDTC promulgated

 regulations under the AECA, which were known as the International Traffic in Arms Regulations
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     ("ITAR").

             3.        The IT AR implemented the prov1S1ons of the AECA, and established the

     framework for regulating the export of defense articles. The IT AR defined an "export" as the

     sending or taking of a defense article out of the United States in any manner. The IT AR defined

     a "defense article" to be any item on the United States Munitions List ("USML"). The IT AR

     contained the USML.

             4.        The USML set forth 21 categories of defense articles and services subject to export

     licensing controls. Category I(a) on the USML included semi-automatic firearms to .50 caliber

     inclusive (12.7mm). Category I(g) included barrels, cylinders, receivers (frames) or complete

     breech mechanisms for the articles in paragraphs I(a) through I(d).         Category I(h) included

     components, parts, accessories and attachments for the articles in paragraphs I(a) through I(g).

             5.        At all times relevant to this Indictment, the following defense articles were

     designated on the USML as a Category I defense article, and required an export license from the

     DDTC to export from the United States to a place outside thereof: AR-15 triggers; AR-15 selector

     switches; AR-15 hammers; AR-15 disconnectors; AR-15 hammer and trigger pins; and AR-15

     trigger guards.


l           6.         Persons desiring to export arms, ammunition, implements of war, and defense

     articles and services specified on the USML from the United States were required to register with

     the DDTC and obtain individual export licenses for each shipment abroad prior to the export, as

     set forth in Title 22, Code of Federal Regulations, Sections 122 and 123. At all times relevant to

     this Indictment, it was illegal to export or attempt to export defense articles on the USML without


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     a license or written authorization from the DDTC.

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          7.    At no time did the defendant, CHRISTOPHER DANIEL STINES, apply for or

 receive a license or written authorization from the DDTC to export defense articles designated on

 the USML, including but not limited to AR-15 triggers, AR-15 selector switches, AR-15 hammers,

 AR-15 disconnectors, AR-15 hammer and trigger pins, and AR-15 trigger guards.

                                          COUNTl
                          Smuggling Goods Outside of the United States
                                     (18 U.S.C. § 554(a))

          1.    The allegations set forth in paragraphs 1 through 7 of the General Allegations

 section of this Indictment are re-alleged and incorporated by reference as if fully set forth herein.

          2.    On or about August 22, 2019, in Miami-Dade County, in the Southern District of

 Florida, and elsewhere, the defendant,

                               CHRISTOPHER DANIEL STINES,

 did fraudulently and knowingly attempt to export and send from the United States to a place outside

 thereof, that is, Haiti, any merchandise, article, and object, that is firearm parts, and did conceal

 and facilitate the transportation and concealment of such merchandise, article, and object prior to

 exportation, knowing the same to be intended for exportation, contrary to any law and regulation

 of the United States, that is, Title 22, United States Code, Section 2778, and Title 22, Code of

 Federal Regulations, Section 121.1; in violation of Title 18, United States Code, Sections 554(a)

 and 2.

          3.    It is further alleged that the firearm parts are:

                a.      Eight (8) AR-15 triggers;

                b.      Five (5) AR-15 selector switches;

                c.      Three (3) AR-15 hammers;

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                d.      Two (2) AR-15 disconnectors;

                e.      Three (3) AR-15 hammer and trigger pins; and

                f.      Two (2) AR-15 trigger guards.

                                            COUNT2
                                    Arms Export Control Act
                                 (22 U.S.C. §§ 2778(b)(2) and (c))

        1.      The allegations set forth in paragraphs 1 through 7 of the General Allegations

 section of this Indictment are re-alleged and incorporated by reference as if fully set forth herein.

        2.      On or about August 22, 2019, in Miami-Dade County, in the Southern District of

 Florida, and elsewhere, the defendant,

                               CHRISTOPHER DANIEL STINES,

 did knowingly and willfully attempt to export "defense articles," that is, firearm parts, from the

 United States to a place outside thereof, that is, Haiti, without having first obtained the required

 license or other written approval from the United States Department of State, Directorate of

 Defense Trade Controls, in violation of Title 22, United States Code, Sections 2778(b)(2) and (c),

 Title 22, Code of Federal Regulations, Sections 121.1, Category I, Subparts (g) and (h), and

 127.l(a)(l), and Title 18, United States Code, Section 2.

                                FORFEITURE ALLEGATIONS
                            (18 U.S.C. § 981(a)(l)(C); 22 U.S.C. § 401)

        1.       The allegations of this Indictment are hereby re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

 property in which the defendant, CHRISTOPHER DANIEL STINES, has an interest.

        2.      Upon conviction of any violation alleged in this Indictment, the defendant shall


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 forfeit to the United States, any property, real or personal, which constitutes or is derived from

 proceeds traceable to the offense pursuant to Title 18, United States Code, Section 981 (a)(l )(C).

        3.      Upon conviction of the violation of Title 22, United States Code, Section 2278 as

 alleged in this Indictment, the defendant shall forfeit to the United States, any arms or munitions

 of war or other articles intended to be exported or removed from the United States in violation of

 the law, pursuant to Title 22, United States Code, Section 401(a).

        4.      The property subject to forfeiture, includes but is not limited to, twenty-three (23)

 AR-15 assault rifle weapon parts including eight (8) AR-15 triggers; five (5) AR-15 selector

 switches; three (3) AR-15 hammers; two (2) AR-15 disconnectors; three (3) AR-15 hammer and

 trigger pins; and two (2) AR-15 trigger guards.

        All pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 22, United

 States Code, Section 401 and the procedures set forth in Title 21, United States Code, section 853,

 made applicable by Title 28, United States Code, Section 246l(c).



                                                              ATRMn.r .




 ARIANA FAJARDO ORSHAfi
 UNITED STATES ATTORNEY


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 ELI S. RUBIN ~      -
 ASSISTANT UNITED STATES ATTORNEY


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                                UNITED STATES
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                                               SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  v.
                                                            CERTIFICATE OF TRIAL ATTORNEY*
CHRISTOPHER DANIEL STINES,
                                                            Superseding Case Information:
                                Defendant.

Court Division: (Select One)                                New defendant(s)           Yes        No
 ✓     Miami                 Key West                       Number of new defendants
       FTL                   WPB             FTP            Total number of counts

         l.      I have carefully considered the allegations of the indictment, the number of defendants, the number of
                 probable witnesses and the legal complexities of the Indictment/Information attached hereto.
         2.      I am aware fhat the information supplied on this statement will be relied upon by the Judges of this
                 Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                 Act, Title 28 U.S.C. Section 3161.
         3.      Interpreter:    (Yes or No)           No
                 List language and/or dialect
         4.      This case will take 4-5 days for the parties to try.
         5.      Please check appropriate category and type of offense listed below:

                 (Check only one)                                  (Check only one)

                                                   ✓
         I       0 to 5 days                                       Petty
         II      6 to 10 days                                      Minor
         III     11 to 20 days                                     Misdem.
         IV      21 to 60 days                                     Felony              ✓

         V       61 days and over
         6.       Has this case previously been filed in this District Court?     (Yes or No) No
          If yes: Judge                                     Case No.
          (Attach copy of dispositive order)                           --------------
          Has a complaint been filed in this matter?        (Yes or No)       Yes
          If yes: Magistrate Case No.                        l 9-mi-03349-LMR
          Related miscellaneous numbers:
          Defendant( s) in federal custody as of             August 22. 2019
          Defendant( s) in state custody as of
          Rule 20 from the District of
          Is this a potential death penalty case? (Yes or No)

         7.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No ✓

          8.      Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                  prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No ✓




                                                                    EL~J-£lw#
                                                                    ASSISTANT UNITED STATES ATTORNEY
                                                                    DISTRICT COURT NO. A5502535
 *Penalty Sheet(s) attached                                                                                 REV 811312018
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

  Defendant's Name:     Christopher Daniel Stines

  Case N o : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Count#: 1

  Smuggling Goods Outside of the United States

  18 U.S.C. § 554(a)

  *Max. Penalty: 10 Years' Imprisonment

 Count#: 2

 Arms Export Control Act

 22 U.S.C. § 2778(c)

 *Max. Penalty: 20 Years' Imprisonment




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
  special assessments, parole terms, or forfeitures that may be applicable.
